

People v Jackson (2021 NY Slip Op 01859)





People v Jackson


2021 NY Slip Op 01859


Decided on March 25, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 25, 2021

Before: Renwick, J.P., Mazzarelli, Singh, González, JJ. 


Ind No. 1653/14 , 4140/14 1653/14 , 4140/14 Appeal No. 13428-13428A Case No. 2016-1157 

[*1]The People of the State of New York, Respondent,
vLamont Jackson, Defendant-Appellant. 


Janet E. Sabel, The Legal Aid Society, New York (Kristina Schwarz of counsel), for appellant.



Appeal from judgments of the Supreme Court, New York County (Richard D. Carruthers, J. at plea; Charles H. Solomon, J. at sentencing), rendered September 30, 2015, convicting defendant of attempted robbery in the second degree and attempted criminal possession of a forged instrument in the second degree, and sentencing him, as a second felony offender, to an aggregate term of three years, held in abeyance, the motion by assigned counsel to be relieved denied without prejudice to renewal, and counsel directed to send a corrected letter that states that defendant's appeal is before this Court, not the Second Department, and provides this Court's address to send any request to file a pro se supplemental brief.
Although assigned counsel notified defendant by letter dated December 29, 2020, that she was filing an Anders/Saunders  brief in which she was seeking leave to withdraw as counsel, and that defendant could seek permission to file a pro se supplemental brief if he wished, the letter incorrectly states that defendant's appeal is in the Second Department and provides the address for that Department to send any request to file a supplemental brief. Accordingly, counsel should send defendant a corrected letter that states that defendant's appeal is before this Court and provide this Court's address.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 25, 2021








